443 F.2d 22
    Mrs. F. H. EUBANKS, Plaintiff-Appellant,v.INSURANCE COMPANY OF NORTH AMERICA, Defendant-Appellee.
    No. 71-1183 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    May 26, 1971.
    
      James D. Cunningham, John J. Watts, Watts, Cunningham &amp; Patterson, Odessa, Tex., for plaintiff-appellant.
      Elton Gilliland, Shafer, Gilliland, Davis, Bunton &amp; McCollum, Odessa, Tex., for defendant-appellee.
      Before BELL, AINSWORTH, and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409. Part I
      
      
        1
         See N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    